          Case 3:16-md-02741-VC Document 6084 Filed 09/25/19 Page 1 of 3


 1   Peter A. Miller (pro hac vice)
     Thomas F. DellaFera, Jr.
 2
     MILLER DELLAFERA PLC
 3   3420 Pump Road, PMB 404
     Henrico, VA 23233
 4   Tel: (800) 401-6670
     Fax: (888) 830-1488
 5   pmiller@millerdellafera.org
     Attorneys for Plaintiffs
 6

 7   Joe G. Hollingsworth (pro hac vice)
     HOLLINGSWORTH LLP
 8   1350 I Street NW
     Washington, DC 20005
 9   Tel: (202) 898-5800
     jhollingsworth@hollingsworthllp.com
10
     Attorneys for Defendant Monsanto Company
11                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14
     IN RE: ROUNDUP PRODUCTS LIABILITY                            MDL No. 2741
15   LITIGATION
                                                                  Case No. 3:18-cv-03188
16

17          This document relates to:                      JOINT STIPULATION OF DISMISSAL
18
            JOHN BROOKS, et al.,
19                    Plaintiff,

20          v.
21          MONSANTO COMPANY,
22                    Defendant.

23

24               JOINT STIPULATION OF DISMISSAL PURSUANT TO PTO NO. 155
25          WHEREAS, Pretrial Order (PTO) No. 155 requires the parties to file a joint stipulation
26
     voluntarily dismissing plaintiffs originally filed in multi-plaintiff complaints;
27
28

                                                 1
                                  JOINT STIPULATION OF DISMISSAL
           Case 3:16-md-02741-VC Document 6084 Filed 09/25/19 Page 2 of 3


 1           WHEREAS, Plaintiffs Teresea Anderson, Beth Campbell, Mary Fitch, Betty Nolan
 2   and Gene Magwire first filed their cases against Defendant Monsanto Company in the
 3   United States District Court for the Eastern District of Missouri in a multi-plaintiff complaint;
 4   and
             WHEREAS, this Court in PTO No. 149 ordered all complaints with multiple plaintiffs to
 5

 6    be severed into individual complaints for pre-trial case work-up purposes.
             THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
 7

 8   Plaintiff and Defendant, by and through their respective counsel, that:

 9           1. Plaintiffs Teresea Anderson, Beth Campbell, Mary Fitch, Betty Nolan and Gene
10               Magwire may voluntarily dismiss their cases without prejudice from John Brooks, et
11               al. v Monsanto Company, Case No. 3:18-cv-03188 and have refiled them as
12               individual cases with Short Form Complaints in the Northern District of California
13               pursuant to PTO Nos. 149 and 155; and
14

15           2. By voluntarily dismissing their cases, Plaintiffs are not waiving their right to request

16              the trial Court upon remand to try the plaintiffs joined in the original complaint

17              together. Monsanto Company reserves its right to object to joinder of plaintiffs for

18              trial purposes.

19   Dated: September 25, 2019                      MILLER DELLAFERA PLC
                                                  By: /s/ Peter A. Miller
20
                                                  By: /s/ Thomas F. DellaFera, Jr.
21   HOLLINGSWORTH LLP
                                                  Peter A. Miller (pro hac vice)
     By: /s/ Joe G. Hollingsworth
22                                                Thomas F. DellaFera, Jr.
     Joe G. Hollingsworth (pro hac vice)          3420 Pump Road, PMB 404
23   1350 I Street NW                             Henrico, VA 23233
     Washington, DC 20005                         Tel: (800) 401-6670
24   Tel: (202) 898-5800                          pmiller@millerdellafera.org
     jhollingsworth@hollingsworthllp.com          tdellafera@millerdellafera.org
25

26                                                GORI AND JULIAN, PC
                                                  By: /s/ D. Todd Mathews
27                                                D. Todd Mathews (pro hac vice)
                                                  156 N. Main Street
28                                                Edwardsville, IL 62025
                                                  Tel: (618) 659-9833
                                                  todd@gorijulianlaw.com
                                             2
                                  JOINT STIPULATION OF DISMISSAL
          Case 3:16-md-02741-VC Document 6084 Filed 09/25/19 Page 3 of 3


 1
                                     CERTIFICATE OF SERVICE
 2

 3                  I, Peter Miller, hereby certify that, on September 25, 2019, I electronically filed
 4   the foregoing with the Clerk for the United States District Court for the Northern District of
     California using the CM/ECF system, which shall send electronic notification to counsel of
 5   record.

 6                                        /s/ Peter A. Miller
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
28

                                               3
                                JOINT STIPULATION OF DISMISSAL
